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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
LARRY KLAYMAN,                      )
                                    )
                  Plaintiff,        )
                                    )
    v.                              )   Civil Action No. 1:18-cv-1579
                                    )
HAMILTON FOX, et al,                )
                                    )
                  Defendants.       )
___________________________________ )

PLAINTIFF’S RESPONSE TO DEFENDANTS’ MOTION FOR EXTENSION OF TIME

       Plaintiff Larry Klayman (“Plaintiff”) consents to a two-week extension of time, but

respectfully submits that 30 days is intended to delay.

       The underlying claims result from a proceeding before Bar Disciplinary Counsel that has

languished for 8 years, but is now belatedly underway before a Hearing Committee of the Board

of Professional Responsibility. This proceeding, by any rational and legal standard would not be

permitted to go forward after an 8-year delay, notwithstanding substantive reasons, by virtually

any other bar association in this country. See Exhibit 1; Legal Opinion of Professional Expert

Ronald Rotunda. Accordingly, it would appear that Defendants’ law firm, Akin Gump, which is

comprised of nearly a thousand lawyers, has the resources not to delay this matter any further.

       In sum, it would appear to Plaintiff that this delay is calculated to push off adjudication of

this Court until after the Hearing Committee and the Board of Professional Responsibility make

recommendations on what otherwise is a factually and legally non-meritorious and

unconstitutional disciplinary proceeding, in an attempt to tactically remove Plaintiff from the

practice of law. Accordingly, this case should proceed on a standard track without delay. Thus, out

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of professional courtesy, Plaintiff will consent to two weeks, but cannot consent to a month.

Dated: August 9, 2018                                Respectfully submitted,


                                                            /s/ Larry Klayman    ____
                                                     Larry Klayman, Esq.
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed electronically
and served through the court’s ECF system to all counsel of record or parties on August 9, 2018

                                                     /s/ Larry Klayman
                                                     Larry Klayman, Esq.




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